EXHIBIT B
Label Matrix for local noticing                ANV Global Services Inc. on behalf of Associ   Arizona Department of Corrections, Rehabilit
0541-4                                         c/o Maurice Wutscher LLP                       c/o Christopher Simpson
Case 23-90086                                  23611 Chagrin Blvd. Suite 207                  2929 N Central Ave Ste 2000
Southern District of Texas                     Beachwood, OH 44122-5540                       Phoenix, AZ 85012-2838
Houston
Mon Aug 14 13:41:58 CDT 2023
Business Centers                               Canon Financial Services, Inc.                 Capitol Eye Care, et al.
12520D Olive Blvd                              c/o Nicola G. Suglia, Esquire                  1705 Christy Drive
Creve Coeur, MO 63141-6683                     Fleischer, Fleischer & Suglia                  Jefferson City, MO 65101-5195
                                               Four Greentree Centre
                                               601 Route 73 North, Suite 305
                                               Marlton, NJ 08053-3475
Certain Officials or Employees of the State    Copeland Stair, et al                          Dell Financial Services L.L.C.
Munsch Hardt Kopf & Harr, PC                   191 Peachtree St NE                            c/o Streusand Landon Ozburn & Lemmon
700 Milam St.                                  Ste 3600                                       1801 S. MoPac Expressway
Suite 800                                      POB 56887                                      Suite 320
Houston, TX 77002-2835                         Atlanta, GA 30343-0887                         Austin, TX 78746-9817

Estate of Austin Bouton                        (p)HALO BRANDED SOLUTIONS INC                  Idaho Department of Corrections
Conroy Baran, LLC                              ATTN NICHOLAS P JAKUBOWSKI                     Munsch Hardt Kopf & Harr PC
1316 Saint Louis Avenue                        635 W BUTTERFIELD ROAD                         700 Milam St.
2nd FL                                         OAKBROOK TERRACE IL 60181-4044                 Suite 800
Kansas City, MO 64101-1353                                                                    Houston, TX 77002-2835

Kurtzman Carson Consultants LLC                Lone Star Alliance Inc., A Risk Retention Co   Maxim Healthcare Staffing Services, Inc.
222 N Pacific Coast Highway, 3rd Floor         c/o Stromberg Stock, PLLC                      c/o Susan Mathews, Baker Donelson
El Segundo, CA 90245-5614                      8350 N Central Expy                            1301 McKinney St., Ste. 3700
                                               Ste 1225                                       Houston, TX 77010-3034
                                               Dallas, TX 75206-1600

Mitsubishi HC Capital America, Inc. f/k/a Hi   Phillips Parker Orberson and Arnett            Public Justice
c/o Amish R. Doshi, Esq.                       716 W Main Street                              1620 L St NW
Doshi Legal Group, PC                          Suite 300                                      Suite 630
1979 Marcus Avenue, Suite 210E                 Louisville, KY 40202-2677                      Washington, DC 20036-5600
Lake Success, NY 11042-1022

Saint Alphonsus Health System,Inc.             Southern Center for Human Rights               State of Idaho
Mehaffy Weber P.C.                             60 Walton St NW                                Munsch Hardt Kopf & Harr PC
c/o Blake Hamm                                 Atlanta, GA 30303-2147                         700 Milam St.
P.O. Box 16                                                                                   Suite 800
Beaumont, TX 77704-0016                                                                       Houston, TX 77002-2835

TN Dept of Revenue                             Tehum Care Services, Inc.                      The Toomey Law Firm
c/o TN Attorney General’s Office               205 Powell Place                               The Old Robb & Stucky Building
Bankruptcy Division                            Suite 104                                      1625 Hendry Street
P.O. Box 20207                                 Brentwood, TN 37027-7522                       Suite 203
Nashville, TN 37202-4015                                                                      Fort Myers, FL 33901-2973

Webster, Henry, Bradwell, Cohan, Speagle & D   4                                              ANTHONY SABALA
P.O. Box 239                                   United States Bankruptcy Court                 c/o The Megwa Law Offices, PLLC
Montgomery, AL 36101-0239                      PO Box 61010                                   6811 South Central Avenue
                                               Houston, TX 77208-1010                         Phoenix, Arizona 85042-5451


Aanda Slocum                                   Aleatha D. Reitsma-Mathias, MD                 Alton D. Brown
c/o Lane & Nach, P.C.                          c/o Hackney Odlum & Dardas                     c/o Eliese R. Herzl-Bertz
2001 East Campbell Ave., Suite 103             10850 E. Traverse Hwy., Suite 4440             Duane Morris LLP
Phoenix, AZ 85016-5573                         Traverse City, MI 49684-1364                   30 S. 17th Street
                                                                                              Philadelphia, PA 19103-4196
Amamt Kumar Tripat                             Angela Branum                                  Angela Jones-Walker, A.J.(minor), Ashley Bro
102081                                         c/o Attorney Joy Bertrand                      c/o Robert S. Baran
PO Box 8909                                    PO Box 2734                                    1316 Saint Louis Ave., 2nd FL
Yuma, AZ 85349-0376                            Scottsdale, AZ 85252-2734                      Kansas City, MO 64101-1353


Anthony Martin #945288                         Antoinette Windhurst                           Bay Hospital, Inc.
Wabash Valley Correctional Facility            c/o Mesch Clark Rothschild                     c/o Jon Rose
WVCF/DOC                                       259 N. Meyer Ave.                              One Park Plaza, I-2W
P.O. Box 1111                                  Tucson, AZ 85701-1007                          Nashville, TN 37203-6527
Carlisle, IN 47838-1111

Benjamin Bedogwar Oryang                       (p)BIO RAD LABORATORIES INC                    Brian A Warren #245972
AIS# 168079 F2-34A                             ATTN ATTN LEGAL DEPT                           2500 S. Sheridan Drive
Station Correctional Facility                  1000 ALFRED NOBEL DR                           Muskegan MI 49444-2665
2690 Marion Spillway Rd.                       HERCULES CA 94547-1811
Elmore, Al 36025-1531

Bryan Farmer                                   Bryant Neil Brown                              CMMP Surgical Center, L.L.C.
50 W. Big Beaver Rd.                           c/o Lane & Nach, P.C.                          c/o Carson & Coil, P.C.
Suite 200                                      2001 East Campbell Ave., Suite 103             515 E. High Street, 4th Floor
Troy, MI 48084-5261                            Phoenix, AZ 85016-5573                         Jefferson City, MO 65101-3261


CONSUMERS ENERGY COMPANY                       Callaway County Ambulance District             Canon Financial Services, Inc
Attn: Legal Dept                               2614 Fairway Drive                             c/o Nicola G. Suglia, Esquire
One Energy Plaza                               Fulton, MO 65251-4018                          Fleischer, Fleischer & Suglia, P.C.
Jackson, MI 49201-2357                                                                        601 Route 73 North, Suite 305
                                                                                              Marlton, NJ 08053-3475

Cape Radiology Group                           Capitol Eye Care, Inc.                         Cassandra Oliver
P.O. Box 1330                                  c/o Carson & Coil, P.C.                        c/o Sharon L. Stolte
Cape Girardeau, MO 63702-1330                  515 E. High Street, 4th Floor                  Sandberg Phoenix & von Gontard P.C.
                                               Jefferson City, MO 65101-3261                  4600 Madison Ave., Suite 1000
                                                                                              Kansas City, MO 64112-3042

Centric Ambulatory Surgery Center LLC          Charles Jones, as P.R. for Estate of Wade Jo   Charles S. Jamsen, MD
2103 Silva Ln                                  c/o Jennifer G. Damico, Esq.                   c/o Hackney Odlum & Dardas
Moberly MO 65270                               19390 West Ten Mile Road                       10850 E. Traverse Hwy., Suite 4440
3 65270-3660                                   Southfield, MI 48075-2458                      Traverse City, MI 49684-1364


Charlie Stevens                                Chester L. Bird                                Christopher D Harrell
744 Second St                                  #18008, 7076 Road 55F                          WMCI #26939
Macon, GA 31201-6836                           Torrington, WY 82240-7771                      7076 Road 55F
                                                                                              Torrington, WY 82240-7771


Christopher Pickett, K.P.(minor), Nicholas P   Claire Pei, DO                                 Covestro, LLC
c/o Robert S. Baran                            c/o Hackney Odlum & Dardas                     1 Covestro Circle, Bldg 5
1316 Saint Louis Ave., 2nd FL                  10850 E. Traverse Hwy., Suite 4440             Pittsburgh, PA 15205-9723
Kansas City, MO 64101-1353                     Traverse City, MI 49684-1364


Danielle Alford                                Danielle Bradshaw, D.O.                        Darrell Barrows
c/o Hackney Odlum & Dardas                     Beth W. Mora, Mora Employment Law              c/o Hackney Odlum & Dardas
10850 E. Traverse Hwy, Suite 4440              18 Crow Canyon Court, Suite 205                10850 E. Traverse Hwy., Suite 4440
Traverse City, MI 49684-1364                   San Ramon, CA 94583-1774                       Traverse City, MI 49684-1364
Darren Pedersen                            David Hall                           David J. Hall
c/o Patrick Emerson McCormick              115 Sudbrook Lane, Suite 206         8092 Castle Rock Ct.
Lewis Roca Rothgerber Christie LLP         Baltimore, MD 21208-3878             Pasadena, MD 21122-6436
One South Church Avenue Suite 2000
Tucson, AZ 85701-1666

Dem Manufacturing & Sales LP               Derico Thompson                      Donald Pevia
Attn: Elizabeth M. Mora, Acct. Superviso   402 W Liberty St.                    Atty Adam Simons
969 Buenos Avenue                          Ann Arbor MI 48103-4388              500 E. Pratt St. Ste 1000
San Diego, CA 92110-3926                                                        Baltimore, MD 21202-3169


Donald Rolle                               Donna M. Rohrs                       Dorothy Yeo (Joseph Michael Mendes)
Wyoming Medium Correctional Institute (W   c/o Hackney Odlum & Dardas           c/o Robert S. Baran
7076 Rd 55 F                               10850 E. Traverse Hwy., Suite 4440   1316 Saint Louis Ave., 2nd FL
Torrington WY 82240-7771                   Traverse City, MI 49684-1364         Kansas City, MO 64101-1353


Dr. Keith Papendick                        Dr. Ravi D. Yarid                    Elizabeth Meta Frederick
c/o Hackney Odlum & Dardas                 c/o Hackney Odlum & Dardas           c/o Lane & Nach, P.C.
10850 E. Traverse Hwy., Suite 4440         10850 E. Traverse Hwy., Suite 4440   2001 East Campbell Ave., Suite 103
Traverse City, MI 49684-1364               Traverse City, MI 49684-1364         Phoenix, AZ 85016-5573


Estate of Austin Bouton                    Eugenia Woods                        Eugenio Mathis PR for April Trujillo-Gonzale
c/o Robert S. Baran                        203 North Gadsden St.                c/o Collins & Collins PC
1316 Saint Louis Ave., 2nd FL              Tallahassee, FL 32301-7637           PO Box 506
Kansas City, MO 64101-1353                                                      Albuquerque, NM 87103-0506


Franchise Tax Board                        Frank James William Patterson        Geneva Consulting LLC
Bankruptcy Section MS A340                 7076 Road 55F                        c/o Hunton Andrews Kurth LLP
PO Box 2952                                Torrington, WY 82240-7771            600 Travis, Suite 4200
Sacramento, CA 95812-2952                                                       Houston, TX 77002-2929
                                                                                Attn: Tad Davidson & Philip Guffy

Ginger Headley obo Corey Coffelt           Granite Telecommunications           Greater St Louis Oral & Maxillofacial Surger
Brown & Crouppen PC - Stephen Bishop       100 Newport Ave                      1034 Brentwood, Suite 1010
2345 Grand Blvd., Ste. 675                 Quincy, MA 02171                     St.Louis MO 63117-1210
Kansas City, MO 64108-2607


HCA Health Services of Florida, Inc.       Henry Snook                          Herman Maddox and Jean Maddox
c/o Jon Rose                               c/o Lane & Nach, P.C.                Allen E. Honick, Esq.
One Park Plaza, I-2W                       2001 East Campbell Ave., Suite 103   Furman Honick Law
Nashville, TN 37203-6527                   Phoenix, AZ 85016-5573               11155 Red Run Blvd, Ste 110
                                                                                Owings Mills, MD 21117-4368

Highwoods Realty Limited Partnership       Hitek Limb and Brace                 INTERNAL REVENUE SERIVCE
c/o Ronn Steen                             1101 Lakeview Avenue                 P.O. BOX 7346
Thompson Burton PLLC                       Columbia, MO 65201-4659              PHILADELPHIA, PA 19101-7346
6100 Tower Circle, Suite 200
Franklin, TN 37067-1465

JACKSON LEWIS P.C.                         Janak R. Bhavsar, MD                 Jason Robinson
1133 WESTCHESTER AVE SUITE S125            c/o Hackney Odlum & Dardas           Lane & Nach, P.C.
WEST HARRISON, NY 10604-3580               10850 E. Traverse Hwy., Suite 4440   2001 East Campbell Ave., Suite 103
                                           Traverse City, MI 49684-1364         Phoenix, AZ 85016-5573
Jefferson City Oral and Maxillofacial Surger   Jeffrey Bomber, DO                            Jennifer Power
c/o Carson & Coil, P.C.                        c/o Hackney Odlum & Dardas                    c/o Lane & Nach, P.C.
515 E. High Street, 4th Floor                  10850 E. Traverse Hwy., Suite 4440            2001 East Campbell Ave., Suite 103
Jefferson City, MO 65101-3261                  Traverse City, MI 49684-1364                  Phoenix, AZ 85016-5573


Jim Williams                                   John C Duvall                                 Joshua Kocha
Plaintiff in proper                            8200 No More Victims Rd                       c/o Hackney Odlum & Dardas
Cooper Street Corr. Fac.                       Jefferson City, MO 65101-4539                 10850 E. Traverse Hwy., Suite 4440
3100 Cooper Street                                                                           Traverse City, MI 49684-1364
Jackson, MI 49201-7545

Joshua Schad                                   Juliana Martino                               Kevin Sorrick
c/o Hackney Odlum & Dardas                     c/o Hackney Odlum & Dardas                    Eastern Correctional Institution
10850 E. Traverse Hwy., Suite 4440             10850 E. Traverse Hwy., Suite 4440            30420 Revells Neck Rd
Traverse City, MI 49684-1364                   Traverse City, MI 49684-1364                  Westover, MD 21890-3368


Kim Farris                                     Kimberly Briggs for Estate of Sean Parks      Kinghorn Medical LLC
c/o Hackney Odlum & Dardas                     Nathan Cohen                                  248 South Cole Rd
10850 E. Traverse Hwy., Suite 4440             210 South Bemiston Ave                        Boise, ID 83709-0934
Traverse City, MI 49684-1364                   St. Louis, MO 63105-1904


Kohchise Jackson                               Kohchise Jackson                              Kristin A. Austin
23403 Fenkell Ave                              402 W Liberty St.                             c/o Hackney Odlum & Dardas
Detroit MI 48223-1448                          Ann Arbor MI 48103-4388                       10850 E. Traverse Hwy., Suite 4440
                                                                                             Traverse City, MI 49684-1364


Lawnwood Medical Center, Inc.                  Leila Ghasemi                                 Lexington-Fayette Urban County Government
c/o Jon Rose                                   c/o Hackney Odlum & Dardas                    Dept of Law
One Park Plaza, I-2W                           10850 E. Traverse Hwy., Suite 4440            200 E Main St, 11th Floor
Nashville, TN 37203-6527                       Traverse City, MI 49684-1364                  Lexington, KY 40507-1310


Linda Floyd                                    Linda Floyd, as Personal Representative for   Linda Floyd, on behalf of minor son
c/o Lane & Nach, P.C.                          Estate of Gary Lee Floyd                      Gary Lee Floyd, Jr.
2001 East Campbell Ave., Suite 103             c/o Lane & Nach, P.C.                         c/o Lane & Nach, P.C.
Phoenix, AZ 85016-5573                         2001 East Campbell Ave., Suite 103            2001 East Campbell Ave., Suite 103
                                               Phoenix, AZ 85016-5573                        Phoenix, AZ 85016-5573

Logicalis, Inc.                                Lone Star Alliance, Inc.                      M2 LoanCo, LLC
3910 Telegraph Road, Suite 200                 c/o Stromberg Stock, PLLC                     Alan Rubenstein/Norton Rose Fulbright
Bloomfield Hills, MI 48302-1461                8350 N Central Expy, Ste 1225                 2200 Ross Ave., Ste. 3600
                                               Dallas, TX 75206-1600                         Dallas, TX 75201-7921


Mack Mandrell Loyde                            Marion Community Hospital, Inc.               Mark Coffelt obo Corey Coffelt
c/o James Bryan Moseley, Esq.                  c/o Jon Rose                                  Brown & Crouppen PC - Stephen Bishop
237 Castlewood Dr., Suite D                    One Park Plaza, I-2W                          2345 Grand Blvd., Ste. 675
Murfreesboro, TN 37129-5166                    Nashville, TN 37203-6527                      Kansas City, MO 64108-2607


Mass. Dept. of Revenue                         (p)MAXIM HEALTHCARE STAFFING SERVICES INC     Memorial Healthcare Group, Inc.
Attn: Bankruptcy Unit                          12558 COLLECTIONS CENTER DRIVE                c/o Jon Rose
PO Box 7090                                    CHICAGO IL 60693-0001                         One Park Plaza, I-2W
Boston, MS 02204-7090                                                                        Nashville, TN 37203-6527
Memorial Hospital of Larame County       Michael Rosales                             Mid-Missouri Anesthesia Consultants, P.C.
d/b/a Cheyenne Regional Medical Center   c/o Lane & Nach, P.C.                       c/o Carson & Coil, P.C.
c/o Blake Rasner                         2001 East Campbell Ave., Suite 103          515 E. High Street, 4th Floor
HALEY & OLSON, P.C.                      Phoenix, AZ 85016-5573                      Jefferson City, MO 65101-3261
100 N. Ritchie Road, Suite 200
Waco, Texas 76712-8517
Mohammad Azimi, MD                       Murphy Watson Burr Surgery Center, Inc.     Nathan Alvarez aka Nathan Alavarez
c/o Hackney Odlum & Dardas               5202 Faraon                                 c/o Lane & Nach, P.C.
10850 E. Traverse Hwy., Suite 4440       St Joseph, MO 64506-3809                    2001 East Campbell Ave., Suite 103
Traverse City, MI 49684-1364                                                         Phoenix, AZ 85016-5573


Nathan S. Cohen, Attorney at Law         New York State Dept of Taxation & Finance   North Florida Regional Medical Center, Inc.
210 South Bemiston Avenue                Bankruptcy Section                          One Park Plaza, I-2W
St. Louis, MO 63105-1904                 POB 5300                                    Nashville, TN 37203-6527
                                         Albany, NY 12205-0300


Oklahoma Tax Commission                  Oliver Law Group P.C.                       Patricia Lewis
Attn: Legal                              50 W. Big Beaver Rd, Ste 200                c/o Hackney Odlum & Dardas
PO Box 269056                            Troy, MI 48084-5261                         10850 E. Traverse Hwy., Suite 4440
Oklahoma City, OK 73126-9056                                                         Traverse City, MI 49684-1364


Patrick C. Lynn                          Paul Al-Amin and Serina Rides               Progressive Medical USA, Inc.
P.O. Box 311                             The Burgess Law Group c/o Janel Glynn       365 5th Ave South, Ste 201
El Dorado, KS 67042-0311                 3131 E. Camelback Road, Ste. 224            Naples, FL 34102-6575
                                         Phoenix, AZ 85016-4599


Putative Class in 2:22-cv-04191          Randolph DeLeon                             Richard B Dague
c/o Carson & Coil, P.C.                  c/o Lane & Nach, P.C.                       #30592 7076 RD 55f
515 E. High Street, 4th Floor            2001 East Campbell Ave., Suite 103          Torrington, WY 82240-7771
Jefferson City, MO 65101-3261            Phoenix, AZ 85016-5573


Rickey Coleman, DO                       Rob Crompton, MD                            Robert D. Blaurock
c/o Hackney Odlum & Dardas               c/o Hackney Odlum & Dardas                  P.O. Box 311
10850 E. Traverse Hwy., Suite 4440       10850 E. Traverse Hwy., Suite 4440          El Dorado, KS 67042-0311
Traverse City, MI 49684-1364             Traverse City, MI 49684-1364


Robert L. Dykes-Bey #201541              Robert Lacy, DO                             Rosilyn Jindal
Gus Harrison Correctional Facility       c/o Hackney Odlum & Dardas                  c/o Hackney Odlum & Dardas
2727 E. Beecher Street                   10850 E. Traverse Hwy., Suite 4440          10850 E. Traverse Hwy., Suite 4440
Adrian, MI 49221-3506                    Traverse City, MI 49684-1364                Traverse City, MI 49684-1364


Ryan A Brown                             SHC Services                                SLWM
#30488 7076 Road 55F                     6955 Union Park Center Drive                1400 Universal
Torrington, WY 82240-7771                Ste 400                                     Kansas City, MO 64120-2140
                                         Cottonwood Heights, UT 84047-4192


SSM - SLUH, Inc.                         SSM Health Care St. Louis                   SSM Medical Group, Inc.
Randall F. Scherck                       10 S. Broadway, Suite 2000                  Randall F. Scherck
10 S. Broadway, Suite 2000               St. Louis, MO 63102-1747                    10 S. Broadway, Suite 2000
St. Louis, MO 63102-1747                                                             St. Louis, MO 63102-1747
SSM Regional Health Services                   (p)ST LOUIS COUNTY COLLECTOR OF REVENUE        Samantha Price
Randal F. Scherck                              41 S CENTRAL AVE                               c/o Hackney Odlum & Dardas
10 S. Broadway, Suite 2000                     SAINT LOUIS MO 63105-1721                      10850 E. Traverse Hwy., Suite 4440
St. Louis, MO 63102-1747                                                                      Traverse City, MI 49684-1364


Shawn Reid                                     Shawn Reid                                     Sherwin T. Shelton
P.O. Box 24401                                 Ricky Keever, Designated Agent for Credi       Oliver Law Group, P.C.
Tucson, AZ 85734-4401                          2204 Shot Pine Drive                           50 W. Big Beaver Rd., Ste. 200
                                               Las Vegas, NV 89108-3415                       Troy, MI 48084-5261


South Western Communications, Inc              Stacy Lindahl                                  (p)STATE OF ALABAMA DEPARTMENT OF REVENUE
4871 Rosebud Lane                              c/o Hackney Odlum & Dardas                     P O BOX 320001
Newburgh, IN 47630-9351                        10850 E. Traverse Hwy., Suite 4440             MONTGOMERY AL 36132-0001
                                               Traverse City, MI 49684-1364


State of Michigan                              State of New Jersey Division of Taxation Ban   Surjit S. Dinsa, MD
Collections Division - Dept of Treasury        PO Box 245                                     c/o Hackney Odlum & Dardas
Lansing MI 48922-0001                          Trenton, NJ 08695-0245                         10850 E. Traverse Hwy., Suite 4440
                                                                                              Traverse City, MI 49684-1364


Tallahassee Medical Center, Inc.               Tana Hill                                      Tennessee Department of Revenue
c/o Jon Rose                                   c/o Hackney Odlum & Dardas                     Attorney General
One Park Plaza, I-2W                           10850 E. Traverse Hwy., Suite 4440             PO Box 20207
Nashville, TN 37203-6527                       Traverse City, MI 49684-1364                   Nashville, TN 37202-4015


Teri A. Massey                                 Terrance & LaTanya Wells for                   Timothy Hawkins
c/o Hackney Odlum & Dardas                     Estate of Robert Johnson                       # 987053
10850 E. Traverse Hwy., Suite 4440             van der Veen, Hartshorn and Levin              JCI-PO Box 534
Traverse City, MI 49684-1364                   1219 Spruce St                                 Jessup, MD 20794
                                               Philadelphia, PA 19107-5607

Tracey Grissom                                 Treasure Valley Oral and Facial Surgery PLLC   Tyrone-Anthony Bell #240434
c/o Frank Ozment, Attorney at Law              c/o Sara Schwarz                               3225 John Conley Drive
217 Country Club Park, Box 501                 1000 N. Curtis Rd. Ste 103                     Lapeer, Michigan 48446-2987
Birmingham, AL 35213-4237                      Boise, ID 83706-1345


US Trustee                                     Uline                                          University of Utah Health
Office of the US Trustee                       12575 Uline Drive                              Jeremy L. Shaw
515 Rusk Ave                                   Pleasant Prairie, WI 53158-3686                160 E 300 S 5th Fl
Ste 3516                                                                                      PO Box 140853
Houston, TX 77002-2604                                                                        Salt Lake City, UT 84114-0853

Van-Far Ambulance District                     Victoria Hallett, DO                           Waheed Nelson
114 East Park Street                           c/o Hackney Odlum & Dardas                     Lane & Nach, P.C.
Vandalia, MO 63382-1813                        10850 E. Traverse Hwy., Suite 4440             2001 East Campbell Ave., Suite 103
                                               Traverse City, MI 49684-1364                   Phoenix, AZ 85016-5573


Webster, Henry, Bradwell, Cohan, Speagle & D   William C Watson                               William Kelly
Post Office Box 239                            ASPC Eyman-SMU I Unit                          402 W Liberty St.,
Montgomery, Alabama 36101-0239                 PO Box 4000                                    Ann Arbor MI 48103-4388
                                               Florence, AZ 85132-4000
Aakash Dalal                    Adree Edmo                        Aleatha Denise Reitsma-Mathias
215 Burlington Rd S             c/o Mary Elizabeth Heard          7806 Founders Circle
Bridgeton, NJ 08302-3479        100 NE Loop 410, Suite 605        Naples, FL 34104-5315
                                SAN ANTONIO, TX 78216-4742


Alex Scott                      Ananda Slocum                     Armando Banuelos
IMSL                            c/o Lane & Nach, P.C.             c/o Hallinan & Killpack Law Firm
POB 51                          2001 East Campbell Avenue         5240 E Pima St
Boise, ID 83707-0051            Suite 103                         Tucson, AZ 85712-3630
                                Phoenix, AZ 85016-5573

Arvant Kumar Tripati            Billie Mancell                    Bradley Schwartz
POB 8900                        707 Myrtle Ave                    c/o Hallinan & Killpack Law Firm
Yuma, AZ 85349                  El Paso, TX 79901-2567            5240 E Pima St
                                                                  Tucson, AZ 85712-3630


Cedric Bell                     Charles Stewart Jamsen            Christopher Brightly
Kinross Correctional Facility   2145 Hackmore Drive               2438 E Broadway Boulevard
4533 W Industrial Park Dr       Ann Arbor, MI 48103-1405          Tucson, AZ 85719-6008
Kincheloe, MI 49788-1638


David Hall                      Demetrius McBride                 Donald Rolle
8092 Castle Rock Ct.            Thumb Correctional Facility       7076 Road 55F
Pasadena, MD 21122-6436         3225 John Conley Dr               Tarrington, WY 82240-7771
                                Lapeer, MI 48446-2987


Donna Marie Rohrs               Edward Stenberg                   Erin Maurice Justice
16593 Blodgett Rd.              124629                            E.C. Brooks Correctional Facility
PO Box 68                       Lake Correctional Facility        2500 South Sheridan Drive
Hersey, MI 49639-0068           141 First St                      Muskegon Heights, MI 49444-2600
                                Coldwater, MI 49036-9687

Frank Patterson                 Gordon S Dittmer                  J Brother Jr
7076 Road 55 F                  Lakeland Correctional Facility    1300 Post Oak H 2000
Torrington, WY 82240-7771       141 First St                      Houston, TX 77056
                                Coldwater, MI 49036-9687


J. Thaddeus Eckenrode           James Gassenheimer                Jason S Brookner
Eckenrode-Maupin Law Firm       Berger Singerman LLP              Gray Reed & McGraw LLP
11477 Olde Cabin Rd, Ste 110    1450 Brickell Avenue, Ste. 1900   1601 Elm Street
St Louis, MO 63141-7128         Miami, FL 33131-5319              Suite 4600
                                                                  Dallas, TX 75201-7212

Jeffrey Walter Bomber           Jim Williams                      Laura Medley
W11901 Middle Beach             3100 Cooper St                    POB 490
Naubinway, MI 49762             Jackson Correctional Facility     Mesa, AZ 85211-0490
                                Jackson, MI 49201-7545


Lee Ridgley                     Leona Miotke                      Leonard Thomas
ISCC E-3-41a                    20804 Butteville Rd NE            #175876
POB 70010                       Aurora, OR 97002-8746             Miami Correctional Facility
Boise, ID 83707-0110                                              3038 W 850 S
                                                                  Bunker Hill, IN 46914-9810
Linda Floyd                             Lydia R Webb                    Mack Mandrell Loyde
c/o Lane & Nach, P.C.                   Gray Reed & McGraw LLP          c/o Moseley & Moseley, Attorneys
2001 East Campbell Avenue               1601 Elm St                     237 Castlewood Dr.
Suite 103                               Ste 4600                        Suite D
Phoenix, AZ 85018 US 85016-5573         Dallas, TX 75201-7212           Murfreesboro, TN 37129-5166

Mark Stewart                            Martin J McAndrew               Michael Chapman
203381                                  O’Connor Kimball LLP            Elmore Correctional Facility
Arizona State Prison Complex - Elyman   51 Haddonfield Rd               3520 Marion Spillway Rd.
South Unit                              Ste 330                         Elmore, AL 36025-1532
POB 8400                                Cherry Hill, NY 08002-4616
Florence, AZ 85132-8400
Moses Kirschke                          Neil Willey                     Patrick C Lynn
384285                                  934948                          64377
Lakeland Corr. Facility                 Jesup Correctional Inst.        EDCF
141 First Street                        POB 534                         POB 311
Coldwater, MI 49036-9687                Jessup, MD 20794-0534           El Dorado, KS 67042-0311

Paul Lupe                               Phillip Buchanan                Rickey Joe Coleman
c/o Hallinan & Killpack Law Firm        Algoa Correctional Center       25115 E. Phillips Dr.,
5240 E Pima St                          8501 No More Victim’s Road      Aurora, CO 80016-7373
Tucson, AZ 85712-3630                   Jefferson City, MO 65101-4567


Robert Schaff                           Robert D Blaurock               Robert David Lacy
OnderLaw, LLC                           EDCF                            10714 W. Braemar
110 E Lockwood Ave                      POB 311                         Holly, MI 48442-8694
St. Louis, MO 63119-3058                El Dorado, KS 67042-0311


Robert L Dykes-Bay                      Roger Ervin                     Rosilyn Jindal
Gus Harrison Correctional Facility      #361733                         920 Red Oak Court
2727 E Beecher St                       NBCI                            Tecumseh, MI 49286-1070
Adrian, MT 49221-3506                   14100 McMullen Hwy
                                        Cumberland, MD 21502-5777

Scott Woodbury                          Sefika Lakic                    Shaidon E Blake
#203038                                 990 Clithero Dr                 E. D. C. F.
Kinross Correctional Facility           Boise, ID 83703-5704            #96323
4533 W. Industrial Park Drive                                           1731 SE 54 Hwy
Kinecheloe, MI 49788-1638                                               POB 311
                                                                        El Dorado, KS 67042-0311
Shawn Reid                              Stephen Floyd Ullrich           Tina Darling
ADOC# 300725                            ISCI                            Hancock, Daniel & Johnson, PC
P.O. Box 24401                          PO Box 14                       4701 Cox Rd.
Tucson, AZ 85734-4401                   Boise, ID 83707-0014            Suite 400
                                                                        Glen Allen, VA 23060-6802

Tonatihu Aguilar                        Tyrone-Anthony Bell             Victoria Hallett
PO Box 40611                            Lapeer Correctional Fac.
TUCSON, AZ 85717-0611                   3225 John Conley
                                        Lapeer, MI 48446-2987


W. D. Merkley                           Waheed Nelson                   Zemina Lakic
ISCI, Med. Anx. -7                      C/O P.O. Box 340261             947 W. Waltman Dr.
POB 14                                  Tampa, FL 33694                 Meridian, ID 83642-6149
Boise, ID 83707-0014
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Halo Branded Solutions, Inc.                         Bio-Rad Laboratories, Inc.                           (d)HALO BRANDED SOLUTIONS INC
635 Butterfield Rd.                                  1000 Alfred Nobel Dr.                                1500 HALO WAY
Oakbrook Terrace, IL 60181                           Hercules, CA 94547                                   STERLING IL 61081



Maxim Healthcare Staffing Services, Inc.             ST LOUIS COUNTY COLLECTOR OF REVENUE                 State of Alabama
Attn. Carrie V. O’Brien                              41 S. CENTRAL AVE.                                   Department of Revenue
7227 Lee Deforest Drive                              ST. LOUIS, MO. 63105                                 Legal Division
Columbia, MD 21046                                                                                        PO Box 32001
                                                                                                          Montgomery, AL 36132-0001




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ACLU National Prison Project                      (u)Bay Hospital, Inc. d/b/a Gulf Coast Region        (u)Capital Region Medical Center




(u)Center for Constitutional Rights                  (u)Centric Ambulatory Surgery Center, LLC            (u)City of Philadelphia




(u)Class of Idaho Department of Corrections I        (u)Consilium Staffing, LLC                           (u)Coverys Speciality Insurance Company




(u)Estate of Darryl Terrell Becton, c/o Moniq        (u)FTI Capital Advisors, LLC                         (u)Former Corizon Employees




(u)Geneva Consulting LLC                             (u)HCA Health Services of Florida, Inc. d/b/a        (u)Highwoods Realty Limited Partnership




(u)Lawnwood Medical Center, Inc. d/b/a Lawnwo        (u)Lexington Insurance Company                       (u)Logicalis, Inc.
(u)M2 LoanCo, LLC                               (u)MMS Minnesota Supply, Inc.                   (u)Marion Community Hospital, Inc. d/b/a Ocal




(u)Memorial Healthcare Group, Inc. d/b/a Memo   (u)Non-Party Flacks Group, LLC                  (u)North Florida Regional Medical Center, Inc
                                                Non-Party Flacks Group, LLC




(u)Official Unsecured Creditors’ Committee      (u)Public Justice                               (u)RMSC Plaintiffs
                                                                                                c/o Walker & Patterson, P.C.
                                                                                                Johnie Patterson
                                                                                                4815
                                                                                                Houston77092

(u)Rights Behind Bars                           (u)Roderick & Solange MacArthur Justice Cente   (u)St. Luke’s Health System, Ltd.




(u)St. Luke’s Regional Medical Center, Ltd      (u)State of Missouri                            (u)Tallahassee Medical Center, Inc. d/b/a Cap




(u)The Curators of the University of Missouri   (u)The Putative Class in Pearson v. Washingto   (u)The Putative Class in Smith v Washington 2




(u)Andrea Abraham, P.R. Estate of Gregory Abr   (d)Dell Financial Services L.L.C.               (u)Hearn Law, PLC, as class counsel in Cortes
                                                c/o Streusand, Landon, Ozburn & Lemmon
                                                1801 S. MoPac Expressway
                                                Suite 320
                                                Austin, TX 78746-9817

(u)Indiana Department of Revenue Bankruptcy S   (d)Mitsubishi HC Capital America, Inc. f/k/a    (u)Adam Baker
100 N Senate Ave Indianapolis, Indiana 4        c/o Amish R. Doshi, Esq.
                                                Doshi Legal Group PC
                                                1979 Marcus Avenue, Suite 210E
                                                Lake Success, NY 11042-1022

(u)Alfred Vela                                  (u)Alton Brown                                  (u)Andrew Lyles




(d)Angela Branum                                (u)Antoinette Windhurst                         (u)Antonio Reali
c/o Attorney Joy Bertrand
PO Box 2734
Scottsdale, AZ 85252-2734
(u)Cassandra Oliver         (u)Charles Jones            (d)Christopher D Harrell
                                                        WMCI #26939
                                                        7076 Road 55F
                                                        Torrington, WY 82240-7771


(u)Clarence Dean            (u)Darrell Barrows          (u)Darren Robert Pedersen




(u)David Wichternman Jr.    (u)Derico Thompson          (u)Eileen McNamara




(u)Eugenio Mathis           (u)Ginger Headley           (u)Gregory Abraham




(u)Hector Garcia Jr.        (d)Henry Snook              (u)James Hyman
                            c/o Lane & Nach, P.C.
                            2001 East Campbell Avenue
                            Suite 103
                            Phoenix, AZ 85016-5573

(d)Jennifer Power           (u)Kerrie Milkiewicz        (u)Kimberly Briggs
c/o Lane & Nach, P.C.
2001 East Campbell Avenue
Suite 103
Phoenix, AZ 85016-5573

(u)Kohchise Jackson         (u)Machelle Pearson         (u)Maria Sheldon
 US




(u)Mark Coffelt             (u)Paul Al-Amin             (u)Rachell Garwood




(u)Reuben Cortes, et al.    (u)Ricky Scott              (u)Sabrie Alexander




(u)Sanjeev Ravipudi         (u)Serina Rides             (u)Tiffany Smith
(u)Tracey Grissom   (u)William Kelly   End of Label Matrix
                                       Mailable recipients   239
                                       Bypassed recipients    80
                                       Total                 319
